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LAW OFFICES
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IN THE UNITED STATES DISTRICT COURT

DISTRICT OF ARIZONA
Nexa Mortgage, LLC, an Arizona limited No.
liability company, NOTICE OF REMOVAL FROM
MARICOPA COUNTY SUPERIOR
Plaintiff, COURT

Vv.

Smart Mortgage Centers, Inc., an Illinois
for-profit corporation; and Wilton A.

Person,
Defendants.

 

 

Defendant Wilton A. Person hereby removes this action from the Maricopa County
Superior Court to this court. Removal is proper under 28 U.S.C. §§ 1332, 1441(a) and (b) for
the following reasons:

I. THIS NOTICE OF REMOVAL IS TIMELY AND PROPERLY FILED.

1. Plaintiff Nexa Mortgage, LLC, is incorporated in Arizona and, according to its
own complaint, is headquartered in Chandler, Arizona.

2. Plaintiff commenced this action in Arizona state court on December 22, 2022.

3. The removing Defendant, Wilton Person, first had notice of the filing of the
complaint when he was served with it on February 7, 2023. Accordingly, Mr. Person has
timely filed this Notice of Removal within 30 days of notice as required under 28 U.S.C. §
1446(b).

 
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4. This Notice of Removal is signed by counsel pursuant to Rule 11 of the
Federal Rules of Civil Procedure, as required under 28 U.S.C. § 1446(a).

5. Pursuant to 28 U.S.C. § 1446(d) and Local Rule 3.6(a), Defendant Person is
providing copies of this Notice of Removal to Plaintiff's counsel and to the Arizona Superior
Court for filing.

6. Pursuant to Local Rule 3.6(b), Defendant Wilton Person is attaching the most
recent version of the docket as published by the Clerk of Court for the Maricopa County
Superior Court as Exhibit 1. In addition, pursuant to 28 U.S.C. § 1446(a) and Local Rule
3.6(b), true and correct copies of “all pleadings and other documents” filed in the state court
proceeding are attached as Exhibit 2a-c. Defendant Person verifies through undersigned
counsel that Exhibit 2 contains “true and correct copies of all pleadings and other documents

filed in the state court proceeding.”

Il. COMPLETE DIVERSITY EXISTS

7. Citizenship of a party for purposes of diversity is determined at the time an
action is initially filed. Freeport-McMoran, Inc. v. K N Energy, Inc., 498 U.S. 426, 428, 111
S.Ct. 858, 860 (1991); Saadeh v. Farouki, 107 F.3d 52, 57 (D.C. Cir. 1997); Coury v. Prot,
85 F.3d 244, 252 (Sth Cir. 1996); Lew, 797 F.2d at 750; Krasnov v. Dinan, 465 F.2d 1298,
1300 (3d Cir. 1972); Kaiser v. Loomis, 391 F.2d 1007, 1009 (6th Cir. 1968).

8. According to 41 of its Complaint, Plaintiff alleges it is an entity formed under
Arizona law with its headquarters in Arizona. It is thus a citizen of Arizona pursuant to 28
U.S.C. §1332(c).

9. At the time the Complaint was filed, Defendant Person was (and continues to
be) a citizen of Illinois.

10. At the time the Complaint was filed, Defendant Smart Mortgage Centers, Inc.,
is a citizen of Illinois. It is incorporated in Illinois and Illinois is its principal place of

business.

 
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Ill. THE AMOUNT IN CONTROVERSY EXCEEDS $75,000
11. According to 488, Plaintiff allegedly suffered damages of “over” $5,000,000.

IV. ALL OTHER DEFENDANTS CONSENT TO REMOVAL

12. The only other Defendant, Smart Mortgage Centers, Inc., has not as of the date
of this Notice been served. It will file the required consent pursuant to 28 U.S.C. §
1446(b)(2)(B) if/when it is served.
Vv. CONCLUSION

This Court has subject matter jurisdiction because this Notice of Removal was timely
and properly filed, complete diversity exists between the Plaintiff and both Defendants, and
the amount in controversy exceeds $75,000. Accordingly, Defendant Person respectfully
requests that this court assume full jurisdiction over the cause herein as provided by law, and
that all further proceedings in the Maricopa County Superior Court be stayed. In filing this
Notice of Removal, Defendant does not waive, and expressly reserves, any defense that may
be available to him, including lack of personal jurisdiction.

Dated 8" day of March, 2023.
BROENING, OBERG, WOODS & WILSON, P.C.

By /s/ Donald Wilson, Jr.
Donald Wilson, Jr.
Brian Holohan
Attorneys for Defendant Person

CERTIFICATE OF ELECTRONIC FILING AND SERVICE

I hereby certify that on March 8, 2023, I electronically transmitted the attached
document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
Notice of Electronic Filing, and via Email, to the CM/ECF registrants:

Jeffrey C. Matura, State Bar No. 019893
John J. Daller, State Bar No. 034016
BARRETT & MATURA, P.C.

8925 East Pima Center Parkway, Suite 215
Scottsdale, Arizona 85258

By __ /s/Karleen Johnston

 
